       Case 08-14631-GMB            Doc 38-1 Filed 03/18/08 Entered 03/18/08 17:55:17                     Desc
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Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                     Case No.: 08−14631−GMB
                                     Chapter: 11
                                     Judge: Gloria M. Burns

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Shapes/Arch Holdings L.L.C.
   9000 River Road
   Delair, NJ 08110
Social Security No.:

Employer's Tax I.D. No.:
  22−3413451




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on March 18, 2008, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 38 − 18
Interim Order (related document:[18] Motion re: for Entry of Interim and Final Orders Authorizing and Approving
Postpetition Financing; Granting Liens and Security Interests and Providing Superpriority Administrative Expense
Status; Modifying Automatic Stay and Scheduling Final Hearing filed by Debtor Shapes/Arch Holdings L.L.C.) The
following parties were served: Debtor, Debtor's Attorney, and US Trustee. Signed on 3/18/2008. (dac)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: March 18, 2008
JJW: dac

                                                                    James J. Waldron
                                                                    Clerk
